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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


 IN RE: AQUEOUS FILM-FORMING                        MDL No. 2:18-mn-2873-RMG
 FOAMS PRODUCTS LIABILITY
 LITIGATION                                           Case Management Order No. 6.F

                                                            This Order relates to:
                                                                ALL CASES


                  Alternative For Service of Process On Additional Defendants

   1. CMO 6 provides the manner in which certain Defendants may be served with process of

a Summons and Complaint that has been filed in, removed to, or transferred to this Multi-District

Litigation.

   2. This Order supplements CMO 6, CMO 6.A, CMO 6.B, CMO 6.C, CMO 6.D, and CMO

6.E to provide additional Defendants who may be served with process of a Summons and

Complaint in accordance with CMO 6 and amending CMO 6 and 6.C to provide updated service

addresses for National Foam, Inc. and for Nation Ford Chemical Company, respectively. All

provisions of CMO 6 shall apply to the Defendants listed in this CMO 6.F.

   3. For the sake of efficiency for all parties, the following Defendants have agreed to accept

service of a Summons and Complaint, either filed directly into the MDL or transferred into the

MDL, by the following method(s):

       a) Chubb Fire Ltd.

              Service via email: Chubb_Service_AFFFMDL@bclplaw.com

       b) Municipal Emergency Services, Inc.

              Service via email: rwillis@williamsmullen.com, rlevy@williamsmullen.com and
              styer@williamsmullen.com
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       c) Nation Ford Chemical Company

          Service via email: eware@williamsmullen.com, rlevy@williamsmullen.com,
          pwerner@williamsmullen.com and styer@williamsmullen.com

       d) National Foam, Inc.

          Service via email: NationalFoam_Service_of_Process@gtlaw.com

AND IT IS SO ORDERED.

                                                      s/Richard Mark Gergel
                                                      Richard Mark Gergel
                                                      United States District Judge
June 22, 2022
Charleston, South Carolina
